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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 COMMODITY FUTURES TRADING
 COMMISSION,
                                                Civil Action No. 23-11808
                       Plaintiff,

          v.                                           ORDER OF SPECIAL MASTER

 TRADERS GLOBAL GROUP INC., et al.,

                       Defendants.


LINARES, J.

        This matter having been brought before the Special Master for an off the record status

conference on March 7, 2025; and counsel for Plaintiff Commodity Futures Trading Commission

(“CFTC” or “Commission”) and counsel for Defendants Traders Global Group Inc., a New Jersey

corporation, d/b/a “My Forex Funds,” Traders Global Group Inc., a Canadian business

organization, and Murtuza Kazmi (“Defendants”) appearing; the Special Master hereby finds and

orders as follows:

        On February 6, 2025, the Special Master entered an Order holding the determination of

Defendants’ Motion for Sanctions (“Motion”) (ECF No. 172) in abeyance pending a report from

CFTC counsel regarding a proposed recommendation by CFTC counsel to the Commission

recommending the amicable resolution of this matter;

        At the March 7, 2025 Status Conference, counsel for CFTC reported to the Special Master

that counsel has not been given the necessary authority from the Commission approving a

settlement between the parties and thus can no longer move forward with the contemplated

settlement;




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        Counsel for CFTC and counsel for Defendants have asked that the Special Master move

forward with issuing the Report and Recommendation on Defendants’ Sanctions Motion;

         Counsel for Defendants raised an issue pertaining to union grievance materials which they

believe are discoverable and relevant to credibility issues affecting the Sanctions Motion;

        Therefore, for good cause shown;

        IT IS on this 7th day of March, 2025,

        ORDERED that the parties shall meet and confer regarding discovery of the union

grievance materials and, if this issue is not resolved, counsel for Defendants shall submit a letter,

limited to 3 pages, to the Special Master by March 10, 2025 and CFTC shall submit a letter in

response, limited to 3 pages, by March 12, 2025. Thereafter, upon consideration of the parties’

submissions, the Special Master will proceed with either considering the additional discovery

ordered or agreed upon and then issuing the Report and Recommendation or proceed with the

issuance of the Report and Recommendation without considering the additional materials if the

discovery is not ordered or agreed upon.

        SO ORDERED.

                                              __/s/ Jose L. Linares_______________________

                                              Hon. Jose L. Linares, U.S.D.J. (Ret.)




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